Case: 1:11-cv-08433 Document #: 277 Filed: 12/14/17 Page 1 of 1 PageID #:5938

                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                               Eastern Division

R−Boc Representatives, Inc.
                                      Plaintiff,
v.                                                        Case No.: 1:11−cv−08433
                                                          Honorable Jeffrey Cole
John T. Minemyer
                                      Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, December 14, 2017:


        MINUTE entry before the Honorable Jeffrey Cole: As explained in the
accompanying Memorandum Opinion, Mr. Minemyer will file a response to Sandra
Krajecki's Motion within 14 days. Any reply shall be due 7 days thereafter. A further
status hearing will be held on 1/9/2018 at 08:30 AM in courtroom 1003. Enter
Memorandum Opinion.Mailed notice(jms, )




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